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                   UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NEW TEXAS
                           EL PASO DiVISION




DALIA VALENCIA,                            I

            Petitioner,                     I   Case No. 3:15-CR-00228-DB


      Vs.




UNiTED STATES OF AMERICA,                   I




             Respondent                    I




MOTION FOR RECONSIDERATION TO HIS MOTION FOR
REDUCTION OF SENTENCE (COMPASSIONATE RELEASE) PURSUANT
TO 18 U.S.C. 3582(C)(1)(A)


TO: The United States District Attorney For The Western District of T


PLEASE TAKE NOTICE that on April 21, 2022, Dalia Valencia, ("Valencia"),
acting Pro Se, moves this Honorable Court for Reconsideration to previous court
order respecting his motion   fr re(Iuctlon of his sentence I)urUant to 18 U.S.0
3582cc) (1) (A) (i) ((ompassionate Release.) (Doe # 1162).




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Ms. Valencia invokes the intervention of this Honorable Court as new developments
have ralse(1 since court's Previous order that are extraordinary and compelling
circumstances making her eligible for a reduction of his sentence.

 Ms. Valencia respectfully invokes for the implementation of The First Step Act's
"time credit" system that was implemented on January 1 5, 2022, which is part of the
implementation of The First Step Act 2018.



                          I JURISDICTION


Section 503(b) of the First Step Act of 2018 expanded the authority of the Court to
grant compassionate release. See      United States     v.   Young, No.   2:O0-cr-00002- 1, 2020
WL 1047815 (M.D. rfenn Mar. 4, 2020) (Congress's "express purpose" was "to
expan(1 the use of compassionate release sentence reductions.").                 Court may
reduce a sentence, upon a motion of a defendant, once the defendant has
"exhausted" and shown that "extraordinary and compelling reasons" exist. 18
U.S.C.   S   3582(c)(1)(A)(i). Here, the Court has jurisdiction to consider Mr. Alvarez's
motion. The injustice of Mr. Alvarez's sentence is an "extraordinary and
compelling" reason alone or combined with the ongoing COVID-19 pandemic arK!
Mr. Alvarez's demonstrated rehabilitation.              Court should reduce Mr. Alvarez's
sentence under 18 U.S.C. § &582(c)(1)(A)(i) and re-considering the S 3553(a) factors
as presented next.




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                                    II. BACKGROUND



Valencia is a 49-years old inmate serving a 180-month sentence imposed on April
19, 2017, after she plea(le(l guilty to racketeering and theft      of government property.
She is a first-time offender with no prior convictions. Her sentence was 180-
months'omprisonment only because of her negotiated plea agreement, pursuant to
Federal Rule of Criminal Procedure 11(c) (1) (C), with a binding recommendation
that the Court impose a prison term not to exceed 180 months 'imprisonment. She
is currently rncarcerated at the Federal Medical Center Carswell, in Fort Worth,
rfexas With a prqjected (late ofJuly 4, 2028.




A. Previous Compassionate Release.



On August 21, 2020, Valencia tiled her initial Motion for Reduce Sentence in this
Honorable District Court (1)oc # 1161). The count on August 25, 2020, DENIED
her motion.

The Court derned Valencia's compassionate release motion based on several factors
including that Vaicncia has nct produccd rncdical records which suppQrtcd a
conclusion that she has serious and advanced illness with afl(l efl(l of life trajectory
or that   she   suffers   from   a medical or physical condition which substantially
diminishes her ability to provide selfcare in prison. See. Doc. # 1162.



B. Valencia's New Developments



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  Valencia's presents that not only she has (lemonstrate(1 her (lesire to become a
better person by exhibiting an exemplary behavior dunng her incarceration, with an
impeccable attitude to staff officers at the prisons where she has been confined, but
also presents that her sentence is extremely excessive and unnecessary to achieve the
purpose of purnshment or rehabilitation, 15-years is an excessive sentence in other
jurisdictions, consi(Iermg that Mr. Valencia had an impeccable criminal record prior
to this offence. Now Vãlencia presents ad(litional extraordinary and Compelling
circumstances that have develop lately and represent a serious enough circumstance
to invoke a reduction of his sentence.

  1.    Medical Conditions

  Ms. Valencia is a 49-year-old female who had C()VID several months previously.
She had an initial echocardiogram done on 10/07/2021 after COVID, which showed
acute trace paracardial effusion and an EF of 50 tO .55%, mild to moderate mitral
and tflcUSl)i(l regurgitation. See Exhibit A.

Additionally, medical history exhibits the following medical conditions prior and
J)OSt   COVID contraction: Health Problems (As of 12/15/2021); Hypermetropia,
Astigmatism, Presbyopia, Sleep Related Bruxism, Constipation, Nonrheumatic
mitral valve disorder, Leukoplakia of vulva, Disease of pericardium; Weight Loss
and Unspecified family history of other specific conditions (see comments).

  On December      17, 2021, Valencia complained to the    Health Services Clinic that
she w experiencing pain      i   her lower pelvic area for the past 5-months! The
clinical health services eflcoUflter developed by CofldllCtlflg a biopsy of the area' of
concern that Valencia in fact presented a degree of cervical dysplasia afl(i cervical
cancer. Ms. Valencia was schedule for immediate surgery (lUe to this medical
development. Ms. Valencia underwent surgery to remove her cancer cells (lesions)
and now she is under observation. Mr. Valencia presents that she now experiences
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internal bleedings that are matter of concern since her place of confinement presents
minimum efforts in resolving her new medical necessities.

   Ms. Valencia has contracte(l COVID-19 and endures         (IC   post collateral effect of
COVID-! 9. It is simply unreasonable to simply assume and ignore Ms. Valencia's
post Covid medical developments and simply turn a blind eye to it when in patients
who do not die from COVID-19, contracting COVID-19 can severely damage lung
tissue, requiring an extensive period of rehabilitation, and in some cases, can cause a
permanent loss of respiratory capacity. COVID-19 may also target the heart muscle,
causing a medical condition called "myocar(litis," or inflammation of the heart
muscle. Myocarditis can affect the heart muscle and electrical system, reducing the
heart's ability to pump. This reduction can lead to rapid or abnormal heart rhythms
in the short term, and long-term heart failure that limits exercise tolerance and the
ability to work.

Emerging evidence also suggests that COVID- 19 can trigger an over-response of the
immune system, further damaging tissues in a cytokine release syndrome that can
result in   widespread damage to other organs,   including permanent     injury to the
kidneys and neurologic injury. These complications caii manifest at an a1armin
pace, Patients can show the first symptoms of infection in as little as two days after
exposure, and their condition can seriously deteriorate in as little as five (lays.

Even some younger and healthier people who contract C()VID- 19 may require
supportive care, which includes supplemental oxygen, positive pressure ventilation,
and in extreme cases, extracorl)oreal mechanical oxygenation.

Ms. Valencia is 49-years of age and has evert that she now has developed many o
the above scientifically proven symptoms including issues with the heart muscle,
causing a medical condition called "myocarditis," or inflammation of the heart
muscle, also her cancer must not be taken lightly. Ms. Valencia upon release may
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make more efficient effi)rts towards her me(lical attention l)y atten(Ilflg 1)riVate
Doctors and Clinics. Ms. Valencia is knowledgeable that release may only be grante(I
upon court's proper findings. However, she prays that this court grant her relief in
the form of House Confinement in order to take care of her medical spences up on
being release from CUStO(Iy.

  Mr. Valencia is knowledgeable that she can be maintain in custody even when
granting Compassionate Release, and she agrees to any special condition of
(letentlon while in house confinement.

  Valencia prays that this court say enough is enough allow Ms, Valencia to      a

(lifferent method of confinement meaning that she can be maintained in a special
condition of probation and house arrest.



ifi. CHANGES SINCE Ms. VALENCIA'S PREVIOUS COMPASSIONATE
RELEASE FILING.


   A. Implementalion of The Fmst Step Act 2018-2022
   1.   Time Credits

Ms. Valencia has petltlone(l for the implementation of The First Step Act 2018, on
February 5, 2020. The BOP disposition was that she in fact was eligible for the
federal time credits. However, BOP has not acted tOWar(ls reducing Valencia's
credits. See Exhibit B.

 As a new development Ms. Valencia relies on the implementation of The First Step
Act 2018-2022. As part of the implementation of The First Step Act, Ms. Valencia
presents that she is eligible for the earned credits derived from the implementation
of the First Step Act 2018-2022. Ms. Valencia moves this honorable to compel the

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BOP to deduct his earnings toward her sentence. Ms. Valencia 's work assignments
(leScflptlon indicates that she has been assigned to work in one of the most critical
areas in the institution. Accordingly, Mr. Valencia has earned BOP trust to work at
the X-Ray clinical area as an orderly since December of 2021. Additionally, Ms.
Valencia has participated in more than 40-programs including Life Q)nfleCtlOfl
Program which make her eligible for a reduction of her sentence of UI) to 12-
months. See. Exhibit C.

 Ms. Valencia respectfully invokes for the implementation of rfhe Fist Step Act's
"time cre(ht" system that was implemented on January 15, 2022, which is I)art of the
implementation of The First Step Act 2018. The Act amended 18 U.S.0 Sec.
3624(b) so that their imposed sentence rather than for every year of their sentenced
served. For example, this change means that an offender sentenced to 10 years in
pnson and who earns the maximum good time credits each year will earn 540 days
of credit.
 rfhe implementation of The First Step Act of 2018-2022, provides eligible inmates
the opportunity to earn 10 to 15 days of time credits for every 30 days of successful
participation in Evidence Based Recidivism Reduction Programs as Productive
Activities. The earned credits can be applied towards earlier placement in pre-
release custody, such as RRCs and HC. In addition, at the BOP Director's
discretion, up to 12 months of Cre(lit can be applie(l toward Supervised Release.
Inmates are eligible to e  rfime Credits retroactively back to Dec. 21, 2018, the
date the First Step Act was enacted, subject to BOP's detennination of eligibility.

 Implementation will occur on a rolling basis, beginning with immediate release for
inmates whose Time Credits earned exceed their days remaining to serve, are less
than 12 months from release, and have a Supervised Release term. Some of thse
transfers have already begun, and many more will take place in the weeks and

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months ahead as BOP calculates and applies time credits for eligible incarcerated
ifl(iiVldUalS.

The BOP has recognized that Ms. Valencia is eligible for the earned credits denved
from the implementation of the First Step Act 2018-2022. Then yet, BOP has not
acted in reducing Valencia's sentence even when she has requested for it. Ms.
Valencia moves this honorable to compel the BOP to deduct her earnings toward
his sentence.

    2.    Exlraordinary and compelling reasons justify a sentence reduction.



  Ms. Valencia offers that the development and implementation of The First Step
Act 2018-2022, that commenced on january 15, 2022, (Inmates are eligible to earn
rfinle Credits retn)actively), combined with her (letenoranng medical condition are

extraordinary and compelling reasons fbr a reduction in her sentence.

  In Court's lrevious or(Ier denying Ms. Valencia's Compassionate Release motion,
the court pointed that Mr. Valencia had not presente(1 documentation in SUpport of
her argument and that there was insufficient extraordinary and compelling reasons to
support the defendant's application for Compassionate Release. Now the court must
recognize that Ms. Valencia does suffer from deteriorating medical conditions
making her more susceptible to the severe consequences of COVID-19 should she
beCome infected again.

         grant a compassionate release motion, the Court must find "extraordinary and
Com)e11mg" reasons. Congress has never defmed what constitutes "extraordinary
and compelling." Instead, it delegated that to the Sentencing Commission. See 28
U.S.C. § 994(t). The Commission's recommendation appears in commentary o
USS(; § I B 1.13 (the actual policy statement just repeats the statutory language)

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noting that "extraordrnary and compelling reasons" may include medical conditions,
age, family circumstances, and other reasons.      1(1.   at app. n. 1. The Commentary
does not limit "other reasons," but says that it could be any "extraordinary and
compelling reason other than, or in combination with" medical conditions, age, or
family circumstances. Id. The Commission's statement was, however, formulated
before the First Step Act passed, and since then it has not met to redefme or clarify
what "extraordinary and compelling" might mean. United States v. Brown,             411   F.

Supp. 3d 446, 449 ii.! (S.D. Iowa Oct. 8, 2019).

b)oking at the Q)mrmssion's earlier statements, Courts have regar(led them as
helpful but anachronistic: the scope of the old policy statement is clearly outdated
and, at the very least, does not apply to the entire field of post-First Step Act motions
     Therefore, the policy statement may provide 'helpfiil giudance' but does not
limit the Court's independent assessment of whether 'extraordinary and compelling
reasons' exist under § 3582(c)(1)(A)(i)." united States       v. Rodrj'uez, No.   2:03-CR-
00271-AB-!, 2020WL 1627331, at * 1 (E.D. Pa. Apr.             1,

2020); see United States   v.   Fox, No. 2:14-CR-03-DBH, 2019       WL 3046086, at      *3

(I). Me. July 11, 2019) ("1 agree with the courts that have said that the CommisSion's
existing policy statement provides helpful guidance [butj is not ultimately conclusive
given the statutory change.").

Thus, courts have found that they do not have to sit on their hands in situations like
these and wait for the Commission to provide greater guidance. Instead, because the
"statute's text directly instructs courts' to 'find that' extraordinary circumstances
exist," the court may determine what fidls within those statutory terms. Rodng'ue
2020 WL 1627331, at *6 (emphasis in original); see also United States v. Beck,, No.
l:13-CR-186-6, 2019 WL 2716505, at *7 M.D.N.C. June 28, 2019) ("While the old
policy statement provides helpful guidance, it does not constrain the Court's

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independent assessment"); United States v. Lisi No. 15 CR. 457 (KPF), 2020 WL
881994, at *3 (S.D.N.Y. Feb. 24, 2020). An(l COUrtS have acknowledged that
"Congress's express purpose" in amending § 3582(c)(l)(A) by the First Step Act was
"to expand the use of compassionate release sentence reductions." United States        v.

 Young, No. 2:00-cr00002-1, 2020 WL 1047815 (M.D. rFe                 Mar. 4, 2020).

In determining what qualifies, the Court can rely on the ordinary and accepted
meaning of the terms "extraordinary afl(I compelling." TaJl4JllClll V. Kati Pac.
&uoan, lid., 566 U.S. 560, .566 (2012). Blacks'LiwDictionarydefmes
"extraordinary" as "Ibleyond what is usual, customary, regular, or common."
Black's LawDictionaiy (defining Extraordinary) (11th ed. 2019). It defines
"compelling need" as a "need so great that irreparable harm or injustice would result
if it is not met." Black s lawDictionaty(defming Compelling Need) (11th ed.
2019). Taken together, they constitute the standar(l this Court should apply: the
reason must be "beyond what is usual, customary, regular, or common," afl(l the
reasons must be "so great that irreparable harm or injustice would result if the relief
is   not granted." See United States v Cajitu, No.     1:0.5   CR458-i, 2019 WL 2498923,
at *5 (S.D. Tex. June 17, 2019) (applying this approach with an older dictionary);
Beck, 2019 WL 2716505, at *8 (same). Ultimately, though, the Court's
determination of what constitutes "extraordinaiy and compelling" rests in the Court's
authority and discretion "upon the court's independent finding." Young, 2020 WL
10478 15, at *6 (collecting cases).

Ms. Valencia presents that the BOP has recognized that Ms. Valencia is eligible for
The Federal Time Credit. See Exhibit B. Meaning that she does present
extraordinary and compelling circumstances for a reduction of her sentence.




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    3. Summaiy of the efforts by Ms. Valencia to improve himself while serving her
       15-year sentence.



Despite the injustice of her 15-year sentence, Ms. Valencia has been productive in
the past near 6-years. (Sentry Report for Ms. Valencia, january 24, 2022.) See
Exhibit D.


Because of her 1 5-year sentence and medical condition, Ms. Valencia has served her
sentence at FMC, CarswelL

Despite being held at these facility, and despite her hmite(l ability to attend many of
the programs offered by the pnson system, she has engaged in a number of
pr(xluctive activities. This rncludes completing her GED on December 21, 2017,
and taking classes in more than 50 educational courses. See Exhibit D.                  '   Also, Ms.
Valencja has worked in the education, chapel and recreation area. However, must
telling is the act of trust by BOP by now having her working at the X-Ray Clinical
area, where only special classified inmates are allowed to work. While incarcerated
for the past near (i-years, her (hsciplinary record has been impeccable. She has no
infractions.



        VI. ARGUMENT FOR A § 3582(c)(1)(A)(i) REDUCTION



  Section 503(b) of the First Step Act of 2018 expanded the authority of the Court to
grant compassionate release. See United States v. Young, No. 2:00-cr-00002-1, 2020


1 For the past   three years, there has been no programming at many prisons due to lockdowns because
of Covid19.   As a result, Ms. Valencia has been unable to participate in any programming over   tIe last
year.


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WL 1047815 (M.D. Tenn. Mar. 4, 2020) (Congress's "express purpoSe" was "to
eXpand the use of compassionate release sentence reductions."). This Court may
reduce a sentence, upon a motion of a defendant, once the defendant has
"exhausted" and shown that "extraordinary and compelling reasons" exist. 18
U.S.C. § 3582(c)(1)(A)(i). Here, the Court has junsdiction to consider Ms.
Valencia's motion. The injustice of Ms. Valencia's sentence is an "extraordrnary and
compellmg" reason alone or combined with the ongorng COVID-19 pandemic and
Ms. Valencia's demonstrated rehabilitation. The Court should reduce Mr.
Valencia's sentence under 18 U.S.C. S 3582(c)(l)(A)(i) and reconsidering the S
3553(a) factors.



A. The injustice of Mr. Valencia's 15-year sentence is an extraordinary and
compelling reason.


  Please take note that Ms. Valencia relies back to a determinative error that
substantially affected her sentence. In many of her prior filing Ms. Valencia has
expose that the District Court has been misinformed ab irntio. Ms. Valencia
rncrcase(1 sentence was based on PSR's misrepresentation   of the facts.
Had Ms. Valencia's counsel objected to the mischaracterization, he would not have
received the sentence he received. Ms. Valencia was classified as a leader or
organized, and more inflammatory is the fact that in her PSI, Ms. Valencia has been
exposed as a Sex Offender when she was never charged or convicted of such an
horrendous crime.

   As one Court previously said: "There is no justice in the mandatory sentence
Defendant received" With passage of the First Step Act of 2018, and the
implementation of the same active postjanuaiy 15, 2022, this Court can correct that

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injustice on Defendant's own motion. Since 2018, vanous district Courts have
conclude(l that the injustice of abiding a sentence that was required under the law
before the First Step Act of 2018, but which after the First Step Act is not, can
provide an extraordinary and compelling circumstance that warrants resentencing.

     For example, in United States   v.   Maumau, the defendant - who was 20 years old
when he was arrested      - was sentenced based on three stacked § 924(c) charges
consistent with the mandatory minimums on each of the charges. United States v.
Maumau, No. 2:08-cr-00758-TC1 1, 2020 WL 806121, at *5 (D. tJtah. Feb. 18
2020). The Court noted that, as part of the First Step Act, Congress ehmmated the
injustice of stacking consecutive 25-year sentences based on multiple § 924(c)'s. Id.
"When considered together, the court is inclined to find that Ithe defendant'sI age,
the length of sentence imj)osed, and the fact that he would not receive the same
sentence if the crime occurred today all represent extraordinary and Compelling
grounds to reduce his sentence."      1(1.    Similarly, in United States v. Young, the U.S.
District Court for the Middle District of Tennessee held that "the drastic change
effected by the First Step Act's amendment of S 924(c) constitutes an extraordinary
and compelling reason for a sentence reduction under 18 U.S.C. § 3582(c)(1)(A),"
when considered with the defendant's age and background. 2020 WL 1047813, at
*
    8.   In Young, the Court resentenced the defendant to 240 months, which was
below the mandatory minimum that applied to the mandatory minimum applicable
at the defendant's original sentence. See United States v. Young, No. 2:00-cr-00002-
1   (M.D. rfeun Mar. 4, 2020), Dkt. No. 109; see also United States v. O'Bryan, No.
96-10076-O3JTM, 2020 WL 869475,                1   (D. Kan. Feb. 21, 2020) (wanting reduction
because of the § 924(c) sentence stacking, as (1efen(iants 25-year sentence would
flow be ten); United States v. Urkevich, No. 8:08cr37, 2019          WL 6037391,   *2 (D.

Neb. Nov. 14, 2019) (granting reduction because of the § 9 24(c) sentence stacking,
as defendants 848-month sentence would be 368 months today). Congress and the
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Commission have given limited guidance to whether the amendments to §
841(b)(1)(A)'s mandatory penalties are alone an "extraordrnary and compelling"
reason. With passage of the First Step Act, however, what is extraordinary and
compelling is now left to the courts. See lJnited States v. Fox, No. 2: 14-CR-03-
DBH, 2019 WL 3046086, at *3 (D. Me. July 11, 2019) (treating "the previous BOP
(liScretlon to i(lCfltIfy other extraor(hnary and compelling reasons as assigne(l now to
the courts"). Congress's mandate in expanding the compassionate release statute
was intended to allow "district judges to consider the vast variety of reasons that may
be 'extraordinary and compelling,'" not to limit compassionate release to those that
the flOP or the Commission had previously deeme(l to justify compassionate
release. See Brown, No. 4:O.5-cr-00227, Dkt. No. 246 at * 10-13. Counsel
recognizes that Section 401 of the First Step Act is not retroactive. The statUte does
not mandate reconsideration.

 If Ms. Valencia were sentenced today, she would assuredly not receive a 180-
month sentence from any district court judge. Her sentence is simply a flincton of
the time at which she was punished for her crimes. If this fundamental unfairness is
not an "extraordinary and compelling" reason, then what is.



   B. Extraordinary Close Family Relationships



Ms. Valencia U on her arrest left Three minor children Each of Ms. Valencia's
children was impacted and scarred by the misguided choices their mother made.
Yet, not only have they overcome these barriers to find their paths in the world, but
each child also accredit their mother's guidance and support as integral Part of their



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success. Perhaps most tellingly, each child has grown up 5-years without a mother
however desirrng to become a prxluctive, contributing member of the community.

 Nonetheless, Ms. Valencia has maintained unifbrmly close an(l loving relationships
with her husband and his three children. Remarkably, this includes the children who
were infants and could not possibly remember growing up with their mother in the
home.

 The three children are extremely supportive of her and they consider Ms. Vaencia
an important part of their lives, even though they have grown up without having her
as a physical lresence in their homes.

  What becomes clear in the letters from Ms. Valencia's children is that they are
very devoted to her From their descriptions, Ms, Valencia has also been highly
devoted to her family, always making the effirt to be a positive influence in the lives
of her children. For their part, the family she is still well enough, mentally and
physically, to have a meaningful presence in their lives.

 hi addition, many friends have render Ms. Valencia support, by offering
employment and by describing Mr. Valencia's character prior and during his
incarceration.

 See Letter for His Children, Sisters and Friends Attached. Exbibit_E.



   C. Prayer

  I pray that the Judge of this Honorable Court, and the United States provide me
only one opportunity, the opportunity to serve others out in the community, At my
age, I no longer represent a danger to the American society, because I have
rehabilitated. I also fully un(lerstand the seriousness of the crime I inflicted, bu

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please take into consideration that near (i-years have elapsed since 2017 when I was
arrested. I have confidence that I would succeed in accomphshmg my goals if
granted compassionate release, I truly know that I can be a productive member of
society if I am released from prison. I no longer pose any unreasonable risk of
(langer to society or threat to public safety if released. My exemplary recor(l of
J)articipatlon in self.help, vocatloflal an(l e(lucatlonal programs while in
demonstrate my truly desire to rehabilitate and my realistic plans U on reIease It
would be unreasonable to ask for mercy, since the ideal state of the world is for
justice to be served. However, there is different manners in which I can continue
serving my in-custody term of judgment, I can always be maintaine(l on Supervised
release until the completion of my sentence, or as this court deems appropriate. A
term of 20-years on Supervised release will also serve the purxse ofustice and will
not alter the judgment of the court, it will not constitute a reduction of sentence but
an adjustment from 1 5-years in-custody, to 20-years (or what is left o my sentenee)
oii Supervised release, which represents also an in-custody term of judgment.

 I fully understand that the ideal state of the world is for justice to be served and that
man would reap what he sows, then yet, I have served near 6-years of my 15-year
sentence behind walls, a significant portion of any man's life considering that science
has established that the average person only lives U to 75-years of age and (lies,
meaning that my life has been reduced to 25-years of existence.

 Please Ju(lge, hear may prayers, have mercy an(l exercise your delegated power in
granting this significant gesture in the form of compassionate release or reduction of
sentence.




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                           V. CONCLUSION

The Court should grant Ms. Valencia's motion for compassionate release Ufl(ltr
Stction 3382(c)(1)(AJti)   at rsentence Ms. Valencia to time strvd or any oti*r
sentence as this court deems appropriate that represents a lesser harsh sentence than
the 15-year sentence that Mr. Valencia is serving now.



Date:                                                   Respectfully Submitted




                    CERTIFICATE OF SERVICE
 I, Dalia Valencia, hereby certify under penalty of peijury, that on this        pri1
28, 2022, I placed a copy of the foregoing MOTION FOR
RECONSIDERATION TO HIS MOTION FOR REDUCTION OF
SENTENCE (COMPASSIONATE RELEASE) PURSUANT TO 18
U.S.C. 3582(C)(1)(A), in a Mailbox at the FMC Carswell TX., With'
sufficient prepaid postage. A COPY of the foregoing motion was serve(1 to
the Western District Texas U.S. District Attorney's office.


                                                      Respectfully Submitted


                                                      ____f               4




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